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 4
     Attorney for Defendant
 5   TERESA MARIA MORALES
 6
                             IN THE UNITED STATES DISTRICT COURT
 7
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
 8
 9
     UNITED STATES OF AMERICA,           )                No. CR. S-07-0314 FCD
10                                       )
                 Plaintiff,              )                STIPULATION AND ORDER
11                                       )                REGARDING MOTION HEARING,
           v.                            )                SETTING BRIEFING SCHEDULE, AND
12                                       )                EXCLUDING TIME
     TERESA MARIA MORALES,               )
13   ENRIQUE MORALES,                    )
     JOSE LUIS MORALES,                  )
14   JUAN MORALES, and PETRA             )
     PRECIADO MORALES,                   )
15                                       )
                 Defendants.             )
16   ____________________________________)
17   The parties hereby stipulate to the following:
18      1. Counsel for defendant Teresa Morales has filed a motion to suppress the client’s
19              statement to be heard on November 9, 2009 at 10:00 a.m.. The parties hereby
20              stipulate that the motion hearing date of August 10, 2009 be vacated.
21      2. The parties stipulate that the court should adopt the following briefing schedule:
22              Government’s Response will be due September 9, 2009
23              Defendant’s Reply will be due on October 9, 2009
24      3. The parties further stipulate that time continue to be excluded until the November 9, 2009
25              motion date due to preparation of counsel (Local Code T4), complexity (Local Code
26              T2), and due to the pending motion.
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28                                                    1
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 1
     DATED: July 10, 2009              /s/ Tim Warriner
 2                                     Attorney for defendant, TERESA MARIA MORALES
 3
     DATED: July 10, 2009              /s/ Bruce Locke
 4                                     Attorney for defendant, ENRIQUE MORALES
 5
     DATED: July 10, 2009              /s/ Miguel A. Hernandez
 6                                     Attorney for defendant, JOSE LUIS MORALES
 7
     DATED: July 10, 2009              /s/ Clarence Emmett Mahle
 8                                     Attorney for defendant, JUAN MORALES
 9
     DATED: July 10, 2009              /s/ Donald P. Dorfman
10                                     Attorney for defendant, PETRA PRECIADO MORALES
11
     DATED: July 10, 2009              /s/ Matthew Stegman
12                                     Assistant U.S. Attorney
13
14
                                            ORDER
15
        GOOD CAUSE APPEARING, it is hereby ordered that defendant Teresa Morales’
16
     motion to suppress her statement will be heard on November 9, 2009, at 10:00 a.m., and that
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     the August 10, 2009 date be vacated. It is further ordered that time continue to be excluded
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     to November 9, 2009 for preparation of counsel pursuant to Local Code T4, complexity
19
     pursuant to Local Code T2, and due to the pending motion. 18 U.S.C. 3161(h)(8)(B)(iv).
20
     The court adopts the briefing schedule as stipulated by the parties and set forth herein.
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 .
22
     Dated: July 13, 2009
23
24                                           _______________________________________
                                             FRANK C. DAMRELL, JR.
25                                           UNITED STATES DISTRICT JUDGE
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28                                                2
